Case 4:18-cr-40097-KES Document 116 Filed 11/20/19 Page 1 of 5 PageID #: 507



                    UNITED STATES DISTRICT COURT


                       DISTRICT OF SOUTH DAKOTA


                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,                          4:18-CR-40097-KES


                  Plaintiff,

      vs.                                           VERDICT FORM


MAURICE BELLAFONTA CATHEY,
a/k/a Short, and CORROD LEON
PHILLIPS,

                  Defendants.



      We, the Juiy, unanimously find the defendants, Maurice Bellafonta
Cathey and Corrod Leon Phillips, as follows:

      COUNT ONE: CONSPIRACY TO DISTRIBUTE A
                                                               VERDICT
               CONTROLLED SUBSTANCE
      On the charge of"Conspiracy to Distribute a
 1.   Controlled Substance," as explained in Final
      Instruction No. 3, please mark your verdict with
      respect to each defendant:
                                                                Not Guiltv
      Maurice Bellafonta Cathey
                                                            X Guiltv
                                                                Not Guiltv
      Corrod Leon Phillips
                                                             X Guiltv

Please proceed to Count Two.
Case 4:18-cr-40097-KES Document 116 Filed 11/20/19 Page 2 of 5 PageID #: 508



      COUNT TWO: CONSPIRACY TO DISTRIBUTE A
                                                                 VERDICT
               CONTROLLED SUBSTANCE

      On the charge of"Conspiracy to Distribute a
2.    Controlled Substance," as explained in Final
      Instruction No. 4, please mark your verdict with
      respect to each defendant:
                                                                  Not Guiltv
      Maurice Bellafonta Cathey
                                                               X Guiltv

                                                                  Not Guiltv
      Corrod Leon Phillips
                                                               X Guilty
Please proceed to Count Three.


  COUNT THREE: DISTRIBUTION OF A CONTROLLED
                                                                 VERDICT
           SUBSTANCE RESULTING IN DEATH

      On the charge of "Distribution of a Controlled
3.    Substance Resulting in Death," as explained in Final        Not Guilty
      Instruction No. 5, please mark your verdict with         X Guiltv
      respect to Maurice Bellafonta Cathey.
      If you find Cathey not guilty, or if you are unable to
      reach a decision on question 3, proceed to question
      3a. If you find Cathey guilty on question 3, please
      proceed to Count Four.
      On the lesser included offense of"Distribution of a
                                                                  Not Guiltv
3a.   Controlled Substance," as explained in Final
                                                                  Guiltv
      Instruction No. 5, please mark your verdict.

Please proceed to Count Four.
Case 4:18-cr-40097-KES Document 116 Filed 11/20/19 Page 3 of 5 PageID #: 509



     COUNT FOUR: DISTRIBUTION OF A CONTROLLED
                                                                VERDICT
 SUBSTANCE RESULTING IN SERIOUS BODILY INJURY
       On the charge of "Distribution of a Controlled
4.     Substance Resulting in Serious Bodily Injury," as        Not Guiltv
       explained in Final Instruction No. 6, please mark        Guiltv
       your verdict with respect to Maurice Bellafonta
       Cathey.
      If you find Cathey not guilty, or if you are unable to
      reach a decision on question 4, proceed to question
      4a. If you find Cathey guilty on question 4, please      'iIIh
      proceed to Count Five.
       On the lesser included offense of "Distribution of a     Not Guiltv
4a.   Controlled Substance," as explained in Final              Guiltv
      Instruction No. 6, please mark your verdict.

Please proceed to Count Five.
Case 4:18-cr-40097-KES Document 116 Filed 11/20/19 Page 4 of 5 PageID #: 510



     COUNT FIVE: DISTRIBUTION OF A CONTROLLED
                                                                   VERDICT
 SUBSTANCE RESULTING IN SERIOUS BODILY INJURY

      On the charge of "Distribution of a Controlled
5.    Substance Resulting in Serious Bodily Injury," as
      explained in Final Instruction No. 7, please mark
      your verdict with respect to each defendant
                                                                    Not Guiltv
      Maurice Bellafonta Cathey
                                                                 ^ Guiltv

                                                                    Not Guiltv
      Corrod Leon Phillips
                                                                 X Guilty
      If you find Cathey or Phillips not guilty, or if you are
      unable to reach a decision on question 5, proceed to
      question 5a. If you find Cathey and Phillips guilty on
a-    question 5, please proceed to Count Six.
      On the lesser included offense of "Distribution of a
5a.   Controlled Substance," as explained in Final
      Instruction No. 7, please mark your verdict with
      respect to each defendant.                                                 4
                                                                    Not Guiltv
      Maurice Bellafonta Cathey
                                                                    Guiltv

                                                                    Not Guiltv
      Corrod Leon Phillips
                                                                    Guiltv


Please proceed to Count Six.
Case 4:18-cr-40097-KES Document 116 Filed 11/20/19 Page 5 of 5 PageID #: 511




         COUNT SIX: DISTRIBUTION OF A CONTROLLED
                                                                       VERDICT
 SUBSTANCE RESULTING IN SERIOUS BODILY INJURY
          On the charge of"Distribution of a Controlled
6.        Substance Resulting in Serious Bodily Injury," as            Not Guiltv
          explained in Final Instruction No. 8, please mark          X Guilty
          your verdict with respect to Corrod Leon Phillips.
          If you find Phillips not guilty, or if you are unable to
W         reach a decision on question 6, proceed to question
          6a. If you find Phillips guilty on question 6, please
■         have your foreperson sign and date the verdict form.
          On the lesser included offense of "Distribution of a
6a.                                                                    Not Guiltv
          Controlled Substance," as explained in Final
                                                                       Guiltv
          Instruction No. 8, please mark your verdict.

Please have your foreperson sign and date the verdict form.




     K
Date
